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                                                                     FILED
                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TE     OUt     AM 8: 38
                                   AUSTIN DIVISION    r     rvT.,'r (CIIbT
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                                                              tETERN DISTRWT OF TEXAS
SCOTT A. ELLIOTT, ET AL.,                     §
                                              §
        Plaintiffs,                           §
                                              §
v.                                            §
                                              §
                                                            4s4L97                         LV
MISSION TRUST SERVICES, LLC,                  §
ETAL.,                                        §
                                              §
        Defendants.                           §

     NON-PARTY DAVID WIELAND'S MOTION FOR PROTECTIVE ORDER AND
         MOTION TO QUASH SUBPOENA TO TESTIFY AT A DEPOSITION

        David Wieland files this Motion for Protective Order and Motion to Quash Subpoena

to Testify at a Deposition, issued by Mission Trust Services, LLC ("Mission Trust"), and

respectfully states as follows:

                                                  I.
                                      INTRODUCTION
        1.      Shortly after Mr. Wieland filed a lawsuit in the Court of Chancery of the State

of Delaware (the "Delaware Action") against a Mission Trust-related entity and its principal,

Christopher Finlay, Mission Trust issued Mr. Wieland a Subpoena to Testify at a Deposition

in a Civil Action (the "Subpoena") in an Illinois lawsuit (the "Illinois Action") that had been

pending for more than a year. A copy of the Subpoena is attached hereto as "Exhibit A."

Mr. Wie land objects to the Subpoena because it is harassing, unlimited in scope, an improper

attempt to obtain discovery for use in the Delaware Action, and imposes unnecessary burden and

expense. Accordingly, Mr. Wieland requests the Court quash the Subpoena and issue a

protective order prohibiting him from being deposed in connection with the Illinois Action.
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                                                II.
                                       FACTUAL BACKGROUND
A.         The Illinois Action

           2.         On August 21, 2013, a group of investors filed the Illinois Action against Mission

Trust and its manager, Christopher C. Finlay. A copy of the Complaint for Declaratory and

Injunctive Relief (without exhibits) is attached hereto as "Exhibit B." The investors' claims

concerned the review and construction of a Delaware statutory trust agreement and the

enforcement of particular contractual terms and duties of the trustee for the Mission Millbrook

Delaware Statutory Trust (the "Millbrook DST") in light of a $19 million commercial loan

default. See Exhibit B, at pp. 3-4. The investors sought to compel Mission Trust and Finlay to

terminate the trust agreement at issue and convert the trust to a limited liability company.        See

Exhibit B, at pp. 14-15. In response, Mission Trust filed a counterclaim against the investors. A

copy of Counter-Plaintiff Mission Trust Services, LLC's Counterclaim, included in Defendants

Mission Trust Services, LLC and Christopher C. Finlay's Answer to Plaintiffs' Complaint for

Declaratory and Injunctive Relief, is attached hereto as "Exhibit C." Mission Trust asserted

counterclaims for breach of contract, negligence, defamation, and tortious interference, claiming

the investors materially interfered with work-out activity concerning the $19 million loan at issue

and interfered with operations, duties, obligations, and rights of Mission Trust between May and

November of 2013.           See Exhibit C.    Mission Trust alleged damages of "not less than" $100

million.        See Exhibit C, at p. 36.   On September 30, 2014, summary judgment was granted in

favor of the plaintiffs, and against Mission Trust and Finlay, on the plaintiffs' claims for

declaratory and injunctive relief A copy of the Judgment is attached hereto as "Exhibit D."

       3.            Soon after summary judgment was granted, the investors filed their Motion for

Instructions and to Stay Discovery Until Further Order ("Motion to Stay"). The Motion to Stay


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seeks a stay of discovery and a briefing schedule concerning the dismissal of Mission Trust's

counterclaims for lack of standing based on the investors' discovery that Mission Trust and

Finlay had filed papers to cancel the Milibrook DST more than seven months earlier. A copy of

the Motion to Stay, along with the Mission Parties' Opposition, are attached hereto as "Exhibit

E" and "Exhibit F," respectively. On October 16, 2014, the Honorable Charles R. Norgle Sr. set

a briefing schedule regarding the Motion to Stay and ordered the parties appear for a hearing on

November 7, 2014. A copy of Judge Norgle's Minute Entry setting the hearing is attached

hereto as "Exhibit G."

B.      The Delaware Action

        4.       On September 5, 2014 Mr. Wieland filed the Delaware Action against Mr. Finlay

and Forward Capital, LLC ("Forward"), the entity that sits atop the entity structure that includes

Mission Trust.     A Copy of Mr. Wieland's Verified Complaint (without exhibits) is attached

hereto as "Exhibit H." In the Delaware Action, Mr. Wieland asserts claims for breach of

contract and declaratory judgment and seeks damages resulting from the failure of Forward and

Mr. Finlay to pay him under the terms of a November 2009 agreement between Wieland, Finlay,

and Forward. See Exhibit H. In response to filing of the Delaware Action, Forward and Finlay,

just like in the Illinois Action, filed a counterclaim seeking damages "in excess" of $100 million.

A copy of Counter-Plaintiffs Forward Capital, LLC's and Christopher Finlay's Counterclaims

without exhibits, which is included in Defendants' Answer to Plaintiff's Verified Complaint and

Verified Counterclaim, is attached hereto as "Exhibit I."

       5.        Also in response to the filing of the Delaware Action, Mission Trust, the entity

managed by Mr. Finlay, issued the Subpoena to Mr. Wieland. The Subpoena was issued more

than a year after the Illinois Action was commenced, and only two weeks after the Delaware



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Action was filed. In addition, even though counsel for Mission Trust was aware Mr. Wieland

was represented by the undersigned counsel, Mission Trust served the Subpoena directly on Mr.

Wieland. Moreover, on September 24, after Mission Trust attempted to serve Mr. Wieland with

the Subpoena, counsel for Mr. Wieland requested counsel for Mission Trust contact him directly.

See September 24, 2014 Email from Counsel for Mr. Wieland to counsel for Mission Trust,

attached hereto as "Exhibit J."      No further communication was received from counsel for

Mission Trust until Mr. Wieland objected to the Subpoena and requested it be withdrawn in light

of the procedural posture of the Illinois Action, and pending Delaware Action. A copy of the

objection and request for withdrawal is attached hereto as "Exhibit K." Mission Trust has been

informed that Mr. Wieland is seeking protection from and an order quashing the Subpoena and

will not appear at this deposition noticed for October 28, 2014. See Exhibit K.

                                                 III.
                              ARGUMENT AND AUTHORITIES

        6.       Federal Rule of Civil Procedure 26 empowers the Court to issue an order protecting

a party or witness from discovery. Specifically, Rule 26(c) provides the Court may "issue an order

to protect a party or person from annoyance, embarrassment, oppression, or undue burden or

expense. ." including prohibiting discovery, specifying terms of discovery, forbidding inquiry into
             .




certain matters, and limiting the scope of discovery.       FED.   R. Civ. P. 26(c).   The Court has

significant discretion in deciding whether to grant a protective order.         Seattle Times Co. v.

Rhinehart, 467 U.S. 20, 36 (1984) ("The unique character of the discovery process requires that the

trial court have substantial latitude to fashion protective orders."); Harris v. Amoco Prod. Co., 768

F.2d 669, 684 (5th Cir. 1985). Moreover, Rule 26(b)(2)(C) requires trial courts "limit the frequency

or extent of discovery otherwise allowed by [the] rules or by local rule if it determines that. . . the

burden or expense of the proposed discovery outweighs its likely benefit, considering the need of


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the case, the amount in controversy, the parties' resources, the importance of the issues at stake in

the action, and the importance of the discovery in resolving the issues." FED. R. Civ. P. 26(c).

        7.     This Court should issue an order prohibiting the deposition of Mr. Wieland in

connection with the Illinois Action in order to protect him from annoyance, burden, and expense. It

was only after Mr. Wieland filed the Delaware Action that Mission Trust issued the Subpoena,

despite the fact that the Illinois Action has been pending since August of 2013. In the absence of a

limitation on the scope of the deposition, questioning may include not only those seeking

information related to the Illinois Action (to which Wieland has none), but also Delaware Action.

See Declaration of David Wieland, attached hereto as "Exhibit L." The unlimited scope of the

deposition in the Illinois Action would effectively provide Mr. Finlay the opportunity to depose Mr.

Wieland twice regarding the facts and claims at issue in the Delaware Action. Moreover, Mr.

Wieland does not possess relevant information. See Exhibit L, at ¶J 6-7. Mr. Wieland had no direct

dealings with the named plaintiffs in the Illinois Action that are related to the claims at issue. See

Exhibit L, at ¶ 6. During the time the Illinois Action has been on file, and during the time period in

question with respect to the counterclaim (May through November of 2013), Wieland had no

contact or communications with the plaintiffs in the Illinois Action. See Exhibit L, at ¶ 6. The

Subpoena is harassing, unlimited in scope, and an improper attempt to obtain discovery for use in

the Delaware Action.     Compliance will cause Mr. Wieland to incur unnecessary burden and

expense. See Exhibit L, at ¶ 8.

       8.      In addition, given the Motion to Stay (and possibility of dismissal) in the Illinois the

Court should protect Mr. Wieland from discovery until resolution of the Motion to Stay. See

Wedemeyer v. Pneudraulics, Inc., No. CV-411-135, 2011 WL 4543193, at *1..2 (S.D. Ga. Sept. 15,

2011) (granting request to postpone discovery requests pending outcome of party's motion to



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dismiss and stay discovery). The Motion to Stay concerns the key issue of whether Mission Trust

has standing to assert its counterclaims against the investor plaintiffs (the only remaining claims).

See Exhibit E. The outcome of the Motion to Stay and standing issue will have a significant impact

on the validity of the Subpoena. It would be incredibly burdensome for Mr. Wieland to be subject

to a lengthy deposition by a party that may lack authority to pursue its claims. See FED. R. Civ. P.

26(c).

         9.      An order quashing the subpoena and protecting Mr. Wieland is also warranted under

Rule 45(d)(1) for the same reasons as above, and because counsel for Mission Trust failed to take

reasonable steps to avoid unduly burdening Mr. Wieland as required by the Federal Rules of Civil

Procedure. Rule 45(d)(1) mandates that "[a] party or attorney responsible for issuing a subpoena

must take reasonable steps to avoid imposing undue burden or expense on a person subject to the

subpoena."     FED. R. Civ. P. 45(d).   This is especially true with respect to nonparty witnesses, like

Mr. Wieland. See Exxon Shipping Co. v. US. Dept. of Interior, 34 F.3d 774, 779 (9th Cir. 1994)

(nonparties are given "special protection against the time and expense of complying with

subpoenas").     Here, no one contacted Mr. Wieland, or his attorneys, prior to issuing the

Subpoena. See Exhibit L, at ¶ 5. Counsel for Mission Trust refused the reasonable step of

postponing the deposition until after the Motion to Stay and dismissal issues are adjudicated in

the Illinois Action. Delaying the deposition and the subpoena is a reasonable step to avoid

imposing unnecessary burden and expense on a nonparty witness.

         10.     Mr. Wieland's deposition in the Illinois Action should be prohibited. At minimum,

the deposition should be stayed until the Motion to Stay and dismissal issues are adjudicated. Even

if the case is not stayed or dismissed, the scope of the deposition should be significantly limited

given Mr. Wieland's lack of information regarding the claims at issue and the Delaware Action.
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                                              IV.
                                           PRAYER
        Mr. Wieland respectfully requests the Court quash the Subpoena and enter a protective

order prohibiting his deposition. In the alternative, Wieland requests an order prohibiting his

deposition pending adjudication of the Motion to Stay, and in the event a stay is not granted in

the Illinois Action, an order restricting the areas of inquiry during his deposition. Mr. Wieland

also respectfully requests the Court grant him any and all other relief to which he may show

himself justly entitled.



DATED: October 27, 2014                             Respectfully submitted,

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                                                    ATTORNEYS FOR DAVID WIELAND




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                           CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for non-party David S. Wieland attempted to confer with
counsel for Mission Trust Services, LLC ("Mission Trust") in writing regarding the withdrawal
and stay of Mission Trust's Subpoena to Testify at a Deposition in a Civil Action, and Mission
Trust opposes the request.
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                               CERTIFICATE OF SERVICE

       I further certify that on this 27th day of October, 2014, a true and correct copy of the
above and foregoing document was served via email and facsimile, on the following:

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